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                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION

                                                                                     CASE NO.: 20-23347-BKC-SMG
                                                                                  PROCEEDING UNDER CHAPTER 13

IN RE:

CARLOS RAUL MACHADO
XXX-XX-9157

_____________________________/
DEBTOR

                          TRUSTEE'S MOTION TO DISMISS AND CERTIFICATE OF
                          SERVICE OF COURT GENERATED NOTICE OF HEARING

    COMES NOW, Robin R. Weiner, Standing Chapter 13 Trustee in the above-referenced bankruptcy
case ("Trustee"), and files her Motion to Dismiss pursuant to 11 U.S.C. §1307(c) for the reason(s) set forth
below:

   1.    Failure to timely provide current tax returns to Trustee pursuant to the Confirmation Order ;

     WHEREFORE, your movant recommends it is in the best interest of the creditors and the estate that
this petition under Chapter 13 be dismissed.

   I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Trustee's Motion to
Dismiss and Certificate of Service of Court Generated Notice of Hearing was served, via U .S. first class
mail, certified mail and/or CM/ECF, upon the parties listed on the attached service list this 7th day of
October, 2022.

                                                                            /s/ Robin R. Weiner
                                                                            _____________________________________
                                                                            ROBIN R. WEINER, ESQUIRE
                                                                            STANDING CHAPTER 13 TRUSTEE
                                                                            P.O. BOX 559007
                                                                            FORT LAUDERDALE, FL 33355-9007
                                                                            TELEPHONE: 954-382-2001
                                                                            FLORIDA BAR NO.: 861154
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                                                                                MOTION TO DISMISS
                                                                         CASE NO.: 20-23347-BKC-SMG

                                        SERVICE LIST

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                                                                               MOTION TO DISMISS
                                                                        CASE NO.: 20-23347-BKC-SMG

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